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                                                                      November 19, 2019
         By ECF
         Hon. Leda Dunn Wettre, U.S.M.J.
         U.S. District Court for the District of New Jersey
         Martin Luther King Building & U.S. Courthouse
         50 Walnut Street
         Newark, New Jersey 07102

                  Re:     Federal Home Loan Mortgage Corp. v. Levine, et al. (Civil Action No. 19-cv-
                          17421-MCA-LDW); JLS Equities LLC v. River Funding LLC, et al. (Civil.
                          Action No. 19-cv-17615-MCA-LDW); U.S. Bank National Ass'n v. Englewood
                          Funding, LLC, et al. (Civil Action No. 19-cv-17865-MCA-LDW); Wells Fargo
                          Bank, National Association v. Levine, et al. (Civil Action No. 19-cv-17866-MCA-
                          LDW); Privcap Funding LLC v. Levine, et al. (Civil Action No. 19-cv-18122-
                          MCA-LDW); Wilmington Say. Fund Soc., FSB v. Levine, et al. (Civil Action No.
                          19-cv-18137-MCA-LDW)

         Dear Judge Wettre:

                We represent proposed intervenors Ascend Re Partners, LLC, Ascend Re Partners II, LLC,
         and DSE Family Investments VII, LLC (collectively, “Ascend”) in the above actions. We write
         pursuant to the Court’s November 13, 2019 instruction to update the Court as to the status of the
         intervenor motions.

                 Ascend has begun the meet and confer process with the parties that opposed the intervenor
         motions. We need additional time to complete that process and will report on those discussions
         within ten days.



                                                                      Respectfully submitted,

                                                                      /s/ Eric D. Herschmann

                                                                      Eric D. Herschmann



         cc:      All counsel (via ECF)
